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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


SUEHAILY DIAZ-FERNANDEZ                                       :        CIVIL DOCKET NO.
                                                              :        3:20-CV-00801 (JCH)


v.                                                            :


CITY OF HARTFORD POLICE DEPARTMENT; :
CITY OF HARTFORD CHIEF OF POLICE                              :
JAMES ROVELLA, In their official and individual :
Capacities; SUPERVISING OFFICER                               :
SEARGENT M. CRETER, In his official and                       :
Individual Capacity; HPD OFFICER J. SUAREZ, :
In his official and individual capacity;                      :
HPD OFFICER C. HEBERT, In his official                        :
and individual capacity; UNKNOWN                              :
HPD OFFICER NO. 1; UNKNOWN HPD                                :
OFFICER NO. 2, In their official and                          :
individual capacities.                                        :        APRIL 16, 2021



                                   AMENDED COMPLAINT

 I. Introduction

         Plaintiffs bring this federal question action pursuant to 42 U.S.C. Sections

 1983, along with various state claims against the Defendants for their use of excessive

 force as to the three named Hartford Police Department ("HPD") Officers, and two




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unknown officers. The Plaintiff also brings a claim for failure to train and/or discipline

as to then Chief of the HPD, James Rovella and also to the City of Hartford for failure

to implement properly the settlement agreement in the Cintron v. Vaughan case. On

June 18, 2017 as the Plaintiff was driving her car in the Southend of the City of

Hartford, along with her two sisters, she stopped at the home of her sister’s boyfriend.

An argument broke out between her sister and her sister’s boyfriend in front of his

house. Shortly thereafter as the Plaintiff was in her vehicle at the wheel, an HPD

cruiser rammed into the left passenger side of the vehicle. The HPD officer C. Hebert

exited his cruiser and with his service weapon drawn, and ordered the Plaintiff to exit

the vehicle. Officer Hebert then grabbed the arm of the Plaintiff as she held the steering

wheel of her vehicle, without posing any threat to Officer Hebert or any officers at the

scene. Officer J. Suarez then sprayed the Plaintiff four times, twice in the mouth. A

second HPD cruiser then rammed into the rear bumper of her vehicle. The Plaintiff was

dragged out of her vehicle, while one of the officers striking her repeatedly, while

another grabbed her by the thigh, pulling her out of the vehicle by Officer Hebert

and/or Officer Suarez and thrown violently onto the asphalt ground. One of the two

identified officers then held her head to the ground by putting his foot on her head,

then sliding it to her neck. The two named officers eventually lifted the Plaintiff off the

ground and threw her into a police cruiser, as the Plaintiff repeatedly asked for medical

attention and to speak to the Supervising Officer Sargent M. Creter who had arrived on




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 the scene. While Plaintiff was in the cruiser, one of the officers banged on the window

 and said the Supervisor wants to see the video on her mobile phone. Plaintiff refused to

 hand over her cellphone.

II. Jurisdiction

1. This federal action is brought pursuant to 42 U.S.C. Section 1983, along with various

state claims. Jurisdiction is conveyed pursuant to 28 U.S.C. Section 1343(3) and

28U.S.C. Section 1331.

III. Venue

2. Venue in the Federal District Court for the District of Connecticut is proper pursuant

to 28 U.S.C. Section 1391.

IV. Parties

3.    Plaintiff:
       Suehaily Diaz.
4.    Defendants:
       City of Hartford;
       HPD Chief James Rovella;
       Supervising Officer Sargent M. Creter;
       HPD Officer C. Hebert, Major Crimes Gun Task Force;
       HPD Officer J. Suarez, Major Crimes Gun Task Force;
       Unknown Officer Number One;
       Unknown Officer Number Two.




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V. Factual Allegations

5. On or about June 18, 2017, the Plaintiff and her two sisters, Rosemary Maldonado and

Angelica Maldonado went out together for dinner and relaxation.

6. At some point late in the evening, Rosemary’s boyfriend, Christopher called her and

asked that she go to his place on 42 Bliss Street in Hartford.

7. The Plaintiff and her two sisters headed to Bliss Street in Plaintiffs Honda, and when

they arrived sometime after 2am, Christopher and two others came outside.

8.   Rosemary and Christopher got into a shouting match that soon turned physical,

which resulted in one of the neighbors calling HPD.

9.   Shortly thereafter a police cruiser pulled up behind the Plaintiff’s moving vehicle

which had left the scene of the incident between Rosemary and Christopher.

10. The Plaintiff’s vehicle came to a stop, after which the HPD cruiser, on information

and belief, occupied by either HPD Officer J. Suarez or C. Hebert rammed into the

passenger side of the vehicle, and shortly thereafter a second HPD cruiser driven by the

other of the first two officers at the scene rammed into the rear end of the Plaintiff’s

vehicle.

11. Immediately thereafter, Officer C. Hebert appeared at the driver’s side window with

his service weapon drawn and began banging on the window, screaming that the Plaintiff

exit the vehicle which was still in the drive position.




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12. As the Plaintiff attempted to place the shift in the park position, Officer J. Suarez

sprayed her with pepper spray in the face, including her eyes, as Officer Hebert continued

to attempt to take her left arm off the steering wheel as Plaintiff attempted to place the

shift into the park position.

13. The Plaintiff who suffers from an extreme anxiety disorder froze in a panic as a

result of being pepper sprayed by Officer Suarez and she in a panic yelled for the Officers

to get her immediate medical attention and requested to speak to the Supervising Officer,

who on information and belief was Sargent M. Creter.

14.   Officer Suarez rather than calling for medical assistance or seeking advice from

Supervising Officer Sargent Creter kept on trying to force the Plaintiff’s hands off the

steering wheel in order to force her from the vehicle.

15.   After attempting without success to force the Plaintiff’s hands from the steering

wheel in order to drag her from the vehicle, Officer Suarez pepper sprayed the Plaintiff a

second time in the face and eyes, after which he dragged her from the driver’s seat and

threw her to the asphalt road.

16.   While the Plaintiff laid helplessly on the asphalt surface, Officer Suarez or Officer

Hebert put his foot on her head in a forceful and violent manner, and then shifted his foot

to her neck in the same forceful and violent manner, which caused the Plaintiff to suffer

extreme difficulty breathing, which was exacerbated by her panic disorder.




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17.   The Plaintiff was shoved violently into one of the police cruisers, after which an

officer believed to be Sargent Creter approached the cruiser and banged on the window

adjacent to where the Plaintiff was seated and began demanding for Plaintiff to unlock

her mobile phone, and stated “I am the supervisor and I want to see the video on your

phone.” Plaintiff who became disabled as a result of being pepper-sprayed on at least four

occasions did not give up possession of her cellphone.

18.   The Plaintiff was unable to keep her eyes open except for short squints due to the

pepper spray, and her chest was burning and Plaintiff continued to have difficulty

breathing.

19.    The Plaintiff has continued suffering difficulty breathing and also suffers from

continued panic attacks due to the extreme trauma she suffered as a result of the

Defendants use of excessive force on the evening of June 18, 2017 as described above.

VI. Claims for Relief

                                       FEDERAL CLAIMS

First Claim for Relief as to City of Hartford and Chief James Rovella:
(Violation of Plaintiff’s Civil Rights under 42 U.S.C. Section 1983)

20.   Paragraphs 5 through 19 are re-alleged and incorporated by reference herein as

though fully pled.




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21.    The City and Chief Rovella were obligated under the terms of the Cintron v.

Vaughan settlement to train HPD officers in the proper use of force when arresting or

confronting citizens as a result of any incident for which they are involved.

22.   The City and Chief Rovella failed to train HPD officers in the proper use of force

in making arrests in accordance with Cintron and State and City regulations and

requirements.

23.     As a result of the City and Chief Rovella’s failures as alleged above, these

Defendants have violated the Plaintiff’s rights as guaranteed by 42 U.S.C. §1983.

Second Claim for Relief as to the Named HPD Officers:
(Violation of Plaintiff’s Civil Rights under 42 U.S. C. § 1983)

24.   Paragraphs 5 through 19 are re-alleged and incorporated by reference herein as

though fully pled.

25.    The named HPD Officers, including Unknown Officers No. One and Two in

conducting the stop and eventual arrest of the Plaintiff acted with extreme indifference to

the Plaintiff’s rights under law and used excessive force against her, including throwing

her to the asphalt surface, forcibly placing a knee on her head and then neck causing her

to be unable to breath, all while refusing to heed to her requests for medical attention, all

in violation of 42 U.S.C. § 1983.




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                                         STATE CLAIMS

First Claim for Relief as to all HPD Officers at the Scene of the Arrest (Negligence)

26.   Paragraphs 5 through 19 are re-alleged and incorporated by reference herein as

though fully pled.

27.   The Defendants’ conduct on the early morning of June 18, 2017 was careless and

negligent toward the Plaintiff.

28. The Defendants’ conduct as alleged herein proximately caused the Plaintiff to suffer

both physical and emotional suffering.



Second Claim for Relief as to all HPD Officers at the Scene of the Arrest
(Recklessness)

29.    Paragraphs 5 through 19 are realleged and incorporated by reference herein as

though fully pled.

30.     The Defendants’ conduct on the early morning of June 18, 2017 toward the

Plaintiff was reckless.

31.     The Defendants’ reckless conduct was the proximate cause of the Plaintff’s

physical and emotional injuries.




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Third Claim for Relief as to all HPD Officers at the Scene of the Arrest (Negligent
Infliction of Emotional Distress)

32.    Paragraphs 5 through 19 are re-alleged and incorporated by reference herein as

though fully pled.

33.     The Defendants’ conduct on the early morning of June 18, 2017 toward the

Plaintiff negligently caused the Plaintiff to suffer from extreme emotional distress, which

she continues to suffer to date..

34.     The Defendants’ conduct toward the Plaintiff proximately caused her to suffer

extreme emotional distress.


Fourth Claim for Relief as to all HPD Officers at the Scene of the
Arrest (Intentional Infliction of Emotional Distress)

35.    Paragraphs 5 through 19 are re-alleged and incorporated by reference herein as

though fully pled.

36.     The Defendants’ conduct on the early morning of June 18, 2017 toward the

Plaintiff was intended to cause her extreme emotional distress, and their conduct toward

Plaintiff did in fact cause her to suffer extreme emotional distress, which she continues to

suffer to date.


VII Prayer for Relief

 WHEREFORE, Plaintiffs respectfully pray the Court order the following relief:




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   A.    Compensatory damages;
   B.    Punitive damages;
   C.    Attorney’s fees and costs of the action; and
   D.    Such other relief as this Court deems just and proper.


Dated this 10th day of June 2020 14th day of April 2021.

                                                         THE PLAINTIFF,
                                                         SUEHAILY DIAZ-FERNANDEZ

                                                        BY: /s/ Ronald S. Johnson
                                                              Ronald S. Johnson,Esq.
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                                    CLAIM FOR JURY TRIAL


 Plaintiff, through counsel, claims this matter for trial by jury.

                                                       THE PLAINTIFF,
                                                       SUEHAILY DIAZ-FERNANDEZ

                                                        BY: /s/ Ronald S. Johnson
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                                        CERTIFICATION

       This is to certify that on April 14, 2021, a copy of the foregoing Motion for
Extension of Time was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of
the Court’s electronic filing system or by mail to anyone unable to accept electronic filing
as indicated on the Notice of Electronic Filing. Parties may access this filing through the
Court’s CM/ECF System.




                                                              BY:     /s/ Ronald S. Johnson            .
                                                                    Ronald S. Johnson




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